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                              UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF NEW YORK

MECHANICAL LICENSING COLLECTIVE,

                        Plaintiff,
                                                       Case No. 1:24-cv-03809-AT-KHP
        v.

SPOTIFY USA INC.,                                      NOTICE OF MOTION

                        Defendant.


        PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, the

undersigned hereby moves this Court on behalf of Defendant Spotify USA Inc. before the

Honorable Analisa Torres, United States District Judge for the United States District Court for

the Southern District of New York, Daniel Patrick Moynihan United States Courthouse, 500 Pearl

St., Courtroom 15D, New York, New York 10007-1312, for an order dismissing the Complaint

in its entirety with prejudice for failure to allege facts sufficient to state a claim for relief pursuant

to Fed. R. Civ. P. 12(b)(6).

        PLEASE TAKE FURTHER NOTICE that pursuant to this Court’s July 20, 2024 Order

(ECF No. 22), opposition papers shall be filed by September 17, 2024, and the reply shall be

filed by October 1, 2024.
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Dated: August 27, 2024                   Respectfully submitted,

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